FORM notthrg


                          UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF ARIZONA

In re:                                                     Case No.: 2:20−bk−01580−EPB

   KUSHUNE DENISE ALLEN                                    Chapter: 13
   6169 WEST EVERGREEN ROAD
   GLENDALE, AZ 85302
   SSAN: xxx−xx−8761
   EIN:

Debtor(s)


                                NOTICE OF TELEPHONIC HEARING

 A hearing in the above−entitled cause will be held on 4/28/20 at 11:00 AM before the Honorable Eddward P.
Ballinger Jr.. Any interested party is to appear by telephone. Interested parties are to call 877−810−9415 to appear
for the hearing. The access code is 1064631. The Honorable Eddward P. Ballinger Jr. will consider and/or act upon
the following matter(s) at the hearing:

DEBTOR'S MOTION TO RECONSIDER ORDER DENYING MOTION TO CONTINUE THE SECTION 362(A)
PURSUANT TO SECTION 362(C)(3)




Any response or objection shall be filed pursuant to Local Bankruptcy Rule 9013−1(c) or as set forth by the Court
within this notice.




Date: April 17, 2020

Address of the Bankruptcy Clerk's Office:                  Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                          George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov




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